

People v Jimenez (2019 NY Slip Op 07091)





People v Jimenez


2019 NY Slip Op 07091


Decided on October 2, 2019


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 2, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

REINALDO E. RIVERA, J.P.
SYLVIA O. HINDS-RADIX
VALERIE BRATHWAITE NELSON
ANGELA G. IANNACCI, JJ.


2018-05158
2018-05159

[*1]The People of the State of New York, respondent,
vHector Jimenez, appellant. (Ind. Nos. 920/17, 4072/17)


Janet E. Sabel, New York, NY (Harold V. Ferguson, Jr., of counsel), for appellant.
Eric Gonzalez, District Attorney, Brooklyn, NY (Leonard Joblove and Lori Glachman of counsel; Angelo Arrieta on the memorandum), for respondent.



DECISION &amp; ORDER
Appeals by the defendant, as limited by his motion, from two sentences of the Supreme Court, Kings County (Suzanne M. Mondo, J.), both imposed March 15, 2018, upon his pleas of guilty, on the ground that the sentences were excessive.
ORDERED that the sentences are affirmed.
The record demonstrates that the defendant knowingly, voluntarily, and intelligently waived his right to appeal (see People v Sanders, 25 NY3d 337, 340; People v Ramos, 7 NY3d 737, 738; People v Lopez, 6 NY3d 248, 256). The defendant's valid waiver of his right to appeal precludes appellate review of his contention that the sentences imposed were excessive (see People v Lopez, 6 NY3d at 255).
RIVERA, J.P., HINDS-RADIX, BRATHWAITE NELSON and IANNACCI, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








